            Case 3:23-cv-06522-MMC               Document 165       Filed 04/03/25    Page 1 of 5



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12   Attorneys for Plaintiffs UMG Recordings, Inc.; Capitol Records, LLC; Concord Bicycle
13   Assets, LLC; CMGI Recorded Music Assets LLC; Sony Music Entertainment; and Arista
     Music
14
                                   UNITED STATES DISTRICT COURT
15
                                NORTHERN DISTRICT OF CALIFORNIA
16
                                        SAN FRANCISCO DIVISION
17
                                      )
18   UMG RECORDINGS, INC., CAPITOL    )                    Case No.: 3:23-cv-06522-MMC
     RECORDS, LLC, CONCORD BICYCLE    )
19   ASSETS, LLC, CMGI RECORDED MUSIC )
     ASSETS LLC, SONY MUSIC           )                    Declaration of Danae Tinelli in Support of
20                                    )                    Defendants’ Administrative Motion to
     ENTERTAINMENT, and ARISTA MUSIC )                     Consider Whether Another Party’s
21                                    )                    Material Should Be Sealed
                 Plaintiff(s),        )
22                                    )
          vs.                         )
23                                    )
     INTERNET ARCHIVE, BREWSTER       )
24   KAHLE, KAHLE/AUSTIN              )
     FOUNDATION, GEORGE BLOOD, and    )
25   GEORGE BLOOD, L.P.               )
                                      )
26                                    )
                 Defendant(s).        )
27

28
      Decl. of Danae Tinelli in Support of Defs.’ Admin.                     Case No.: 3:23-cv-06522-MMC
      Mot. to Consider Whether Another Party’s Materials
      Should Be Sealed
            Case 3:23-cv-06522-MMC               Document 165      Filed 04/03/25     Page 2 of 5



 1       I, Danae Tinelli, hereby declare, pursuant to 28 US.C. § 1746, as follows:

 2           1.      I am an attorney at Oppenheim + Zebrak, LLP (“O+Z”), which represents

 3   Plaintiffs UMG Recordings, Inc., Capitol Records, LLC, Concord Bicycle Assets, LLC, CMGI

 4   Recorded Music Assets LLC, Sony Music Entertainment (“SME”), and Arista Music

 5   (collectively, “Plaintiffs”) in the above-captioned matter.

 6           2.      I have knowledge of the facts stated herein based on personal knowledge and my

 7   review of the documents and other items referenced herein. If called upon to do so, I am able to

 8   testify competently to the matters set forth below.

 9           3.      On April 2, 2025, the Court denied Defendants’ Administrative Motion and

10   directed Defendants to file the Sealed Documents (defined below) in the public record, ECF No.

11   164. Plaintiffs respectfully request that the Court maintain the Sealed Documents under seal to

12   protect the confidentiality interests outlined in the Stipulated Protective Order (“Protective

13   Order”), ECF No. 113. Pursuant to Civil L.R. 7-11(a) and 79-5 (c) and (f), I respectfully submit

14   this Declaration in Support of Defendants’ Administrative Motion to Consider Whether Another

15   Party’s Material Should Be Sealed (“Defendants’ Administrative Motion”), ECF No. 161.

16           4.      Plaintiffs acknowledge that this filing is being submitted after the applicable

17   deadline and sincerely apologize to the Court and opposing counsel for the delay and any

18   inconvenience this may have caused. The delay was inadvertent and resulted from Plaintiffs’ focus

19   in preparing a timely response to Defendants Opposition, ECF No. 160. Plaintiffs assure the Court

20   that they did not intend to disregard to the Court’s deadlines and respectfully request the Court’s
21   consideration in accepting this late filing.
22           5.      Specifically, the following documents submitted in connection with Defendants’
23   Administrative Motion contain Plaintiffs’ highly confidential, non-public, and commercially
24   sensitive information and should remain sealed (“Sealed Documents”).
25    ECF/Ex. No.          Document                   Portion to Seal   Reason for Sealing
      ECF No. 160-3        Agreement produced         Entire document   Plaintiffs designated the
26    Exhibit 2            by Sony Music                                Sealed Documents as “Highly
27                         Entertainment                                Confidential – Attorneys’
                                                                        Eyes Only” pursuant to the
28                                                         1
      Decl. of Danae Tinelli in Support of Defs.’ Admin.                    Case No.: 3:23-cv-06522-MMC
      Mot. to Consider Whether Another Party’s Materials
      Should Be Sealed
            Case 3:23-cv-06522-MMC               Document 165      Filed 04/03/25     Page 3 of 5



 1                         (Bates                                       Protective Order; highly
                           PL0000001575)                                confidential, non-public
 2                                                                      business agreement between
                                                                        Columbia Records Inc. and a
 3
                                                                        third-party produced by
 4                                                                      Plaintiff SME to Defendants
                                                                        during the litigation; contains
 5                                                                      information reflecting the
                                                                        scope of the agreement and
 6                                                                      consideration exchanged
 7                                                                      between the parties. Public
                                                                        disclosure would cause harm
 8                                                                      to Plaintiff SME.
      ECF No. 160-4        Agreement produced         Entire document   Plaintiffs designated the
 9    Exhibit 3            by Sony Music                                Sealed Documents as “Highly
                           Entertainment                                Confidential – Attorneys’
10                         (Bates                                       Eyes Only” pursuant to the
11                         PL0000001578)                                Protective Order; highly
                                                                        confidential, non-public
12                                                                      business agreement between
                                                                        Radio Corporation of
13                                                                      America and a third-party
                                                                        produced by Plaintiff SME to
14
                                                                        Defendants during the
15                                                                      litigation; contains
                                                                        information reflecting the
16                                                                      scope of the agreement and
                                                                        consideration exchanged
17                                                                      between the parties. Public
                                                                        disclosure would cause harm
18
                                                                        to Plaintiff SME.
19

20           6.      For documents attached to non-dispositive motions or filings “tangentially related

21   to the merits,” the Court must only find “good cause” to justify sealing. Kamakana v. City & Cnty.

22   of Honolulu, 447 F.3d 1172, 1180 (9th Cir. 2006); Connor v. Quora, Inc., No. 18-CV-07597-BLF,

23   2020 WL 7408233, at *1 (N.D. Cal. Oct. 15, 2020). Such good cause exists here to warrant sealing

24   of the information identified above. However, even if the Court were to determine it must find

25   “compelling reasons” under the stricter standard for filings “more than tangentially related to the

26   merits of a case,” Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1101 (9th Cir. 2016),

27   sufficient compelling reasons are also found here to warrant sealing.

28                                                         2
      Decl. of Danae Tinelli in Support of Defs.’ Admin.                     Case No.: 3:23-cv-06522-MMC
      Mot. to Consider Whether Another Party’s Materials
      Should Be Sealed
            Case 3:23-cv-06522-MMC               Document 165     Filed 04/03/25     Page 4 of 5



 1           7.       The Sealed Documents contain Plaintiffs’ highly confidential, non-public, and

 2   commercially sensitive information, which would result in serious commercial and competitive

 3   harm if disclosed publicly. Specifically, the Sealed Documents are non-public commercial

 4   agreements between Plaintiff SME and third parties related to sound recordings, including

 5   information about the scope of the agreements, rights granted, permissible uses, payment

 6   structures, breakdown of revenue, and consideration exchanged between the parties – all of which

 7   were negotiated by the parties to the agreements in a confidential manner.

 8           8.       Consistent with the highly-confidential nature of Plaintiffs’ information in the

 9   Sealed Documents, Plaintiffs had produced the documents with a “HIGHLY CONFIDENTIAL –

10   ATTORNEYS’ EYES ONLY” designation under the Protective Order.

11           9.       Plaintiffs also maintain a practice of guarding their confidential documents from

12   public disclosure by limiting access and disclosure to a select group of authorized individuals.

13           10.      Public disclosure of Plaintiffs’ highly confidential information would harm

14   Plaintiffs’ competitive standing. For example, Plaintiffs’ competitors could use the information

15   disclosed, which reflect pricing and royalty information, business plans, and confidential terms

16   negotiated by parties to the agreements, to unfairly gain a competitive advantage over Plaintiffs

17   and thereby harm Plaintiffs’ ability to compete and conduct business. Similarly, disclosure of

18   confidential terms would compromise Plaintiffs’ ability to effectively negotiate terms with other

19   third parties.

20           11.      These significant threats of commercial and competitive harms constitute sufficient
21   “compelling reasons” to warrant sealing of the Sealed Documents identified above. See, e.g.,
22   Bunsow De Mory LLP v. N. Forty Consulting LLC, 2020 WL 7872197, at *1 (N.D. Cal. Aug. 7,
23   2020) (“confidential business information in the form of ‘license agreements, financial terms,
24   details of confidential licensing negotiations, and business strategies’ satisfies the ‘compelling
25   reasons’ standard”) (quoting Exeltis USA Inc. v. First Databank, Inc., 2020 WL 2838812 at *1

26   (N.D. Cal. June 1, 2020); In re Qualcomm Litig., 2017 WL 5176922, at *2 (S.D. Cal. Nov. 8, 2017)

27   (preventing competitors from “gaining insight into the parties’ business model and strategy”

28                                                         3
      Decl. of Danae Tinelli in Support of Defs.’ Admin.                    Case No.: 3:23-cv-06522-MMC
      Mot. to Consider Whether Another Party’s Materials
      Should Be Sealed
            Case 3:23-cv-06522-MMC               Document 165     Filed 04/03/25      Page 5 of 5



 1   constitute sufficient “compelling reasons” to seal). For the same reasons, there is also sufficient

 2   “good cause” to warrant sealing.

 3           12.     Prevention of these harms requires the sealing of the information contained in the

 4   Sealed Documents described above. Absent sealing, Plaintiffs’ competitors would unfairly gain

 5   access to Plaintiffs’ confidential information and threaten Plaintiffs’ businesses and competitive

 6   standing. Accordingly, less restrictive measures would not adequately guard against the harms

 7   threatened by disclosure.

 8           I declare under penalty of perjury that the foregoing is true and correct.

 9                                                                       /s/ Danae Tinelli
      Executed on this 3rd day of April 2025.                            Danae Tinelli
10
                                                                         Attorney for Plaintiffs
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      Decl. of Danae Tinelli in Support of Defs.’ Admin.                     Case No.: 3:23-cv-06522-MMC
      Mot. to Consider Whether Another Party’s Materials
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